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U`NITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
WES'I` PALM BEACH DIVISION

www.flsb.uscourts.gov

IN RE: CHAPTER ll
THE TREATMENT CENTER OF CASE NO. 18-14622-EPK
PALM BEACHES, LLC,

Debtor. /

 

NOTICE OF APPOINTMENT OF PATIENT_QARE OMBUDSMAN

Pursuant to l l U.S.C. § 333, Federal Rule of Bankruptcy Procedure 2007.2(c), and the Order
Directing U. S. Trustee To Appoint Patient Care Ombudsman (ECF # 31) entered by this Court
on May 5, 2018, Daniel M. McDermott, United States Trustee, hereby appoints as the Patient
Care Ombudsman in this case:

Sandra Zervoudakis, M.S., LMHC, CAP
6123 NW 315t Ave., Boca
Raton, Florida 33496
Phone: 954-254-6773

E-mail: Sandra@Optimwellmanagment.com

This notice is accompanied by a verified statement of Sandra Zervoudakis setting forth
connections With the debtor, creditors, patients, any other party in interest, their respective
attorneys and accountants, the United States Trustee, and any person employed in the office of the
United States Trustee.

Section 333 of the Bankruptcy Code provides that the Patient Care Ombudsman shall:

(l) monitor the quality of patient care provided to patients of the debtor, to the extent
necessary under the circumstances, including interviewing patients and physicians;

(2) not later than 60 days after the date of this appointment, and not less frequently than
at 60-day intervals thereafter, report to the court after notice to the parties in interest,
at a hearing or in writing, regarding the quality of patient care provided to patients
of the debtor; and

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(3) if such ombudsman determines that the quality of patient care provided to patients
of the debtor is declining significantly or is otherwise being materially compromised,
file with the court a motion or a written report, with notice to the parties in interest
immediately upon making such deterrnination; and

(4) shall maintain any information obtained by such ombudsman under section 333 of
the Bankruptcy Code that relates to patients (including information relating to patient
records) as confidential information. Such ombudsman may not review confidential
patient records unless the court approves such review in advance and imposes
restrictions on such ombudsman to protect the confidentiality of such records.

Pursuant to Federal Rule of Bankruptcy Procedure 2015.1:

(a) Reports.

A patient care ombudsman, at least 14 days before making a report under § 333(b)(2)
of the Code, shall give notice that the report will be made to the court, unless the
court orders otherwise The notice shall be transmitted to the United States trustee,
posted conspicuously at the health care facility that is the subject of the report, and
served on: the debtor; the trustee; all patients; and any committee elected under §
705 or appointed under § 1102 of the Code or its authorized agent, or, if the case is
a chapter 9 municipality case or a chapter 11 reorganization case and no committee
of unsecured creditors has been appointed under § 1102, on the creditors included
on the list filed under Rule lOO'/(d); and such other entities as the court may direct.
The notice shall state the date and time when the report will be made, the manner in
Which the report will be made, and, if the report is in writing, the name, address,
telephone number, email address, and website, if any, of the person from whom a
copy of the report may be obtained at the debtor’s expense.

(b) Authorization to Review Confidential Patient Records.
A motion by a health care ombudsman under § 333(c) to review confidential patient

records shall be governed by Rule 9014, served on the patient and any family
member or other contact person whose name and address has been given to the
trustee or the debtor for the purpose of providing information regarding the patient's
health care, and transmitted to the United States trustee subject to applicable
nonbankruptcy law relating to patient privacy. Unless the court orders otherwise, a
hearing on the motion may not be commended earlier than 14 days after service of
the motion.

Notice is timber given that the patient care Ombudsman appointed in this case may resign
the position as patient care Ombudsman for any reason upon twenty (20) days written notice to the
United States Trustee, said notice to be delivered to the United States Trustee via overnight mail

delivery or certified mail at the following address: Office of the United States Trustee, 51 S.W. 1st
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Ave., Room 1204, Miami, FL 33130. A copy of any such notice shall also be transmitted to the
Clerk of the Bankruptcy Court for filing and docketing in this case. Should the appointed Patient
Care Ombudsman resign as Patient Care Ombudsman in this case, the United States Trustee will
appoint a successor to serve in the position, unless directed otherwise by Clerk of Court.

DATED: May 14, 2018.

 

Charles R.

Assistant U.S. Trustee
Office of the U.S. Tru ee
51 S.W. 15' Avenue

Suite 1204

Miami, FL 33130

(305) 536-7285

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IN THE UNITED STATES BANKRUP'I`CY COURT
FOR THE SOUTI~IERN DISTRICT OF FLORIDA
WEST PALM BEACH DIVISION

 

IN RE: CHAPTER ll
THE TREATMENT CENTER OF CASE NO. 18-14622-EPK
PALM BEACHES, LLC,
Debtor. /
VERIFIED STATEMENT

 

I, Sandra Zervoudakis, hereby declare as follows:

l. I am a resident of the State of Florida. My business address is 6123 NW 31Sl Ave., Boca
Raton, Florida 33496

2. lam a person eligible and competent to perform the duties of Patient Care Ombudsman,
as set forth in ll U.S.C. §333, in this case.

3. To the best of my knowledge, information and belief, and based upon a careful review of
the debtor’s schedules and the list of creditors (mailing matrix) and such other inquiry as I have
deemed appropriate:

A. l am neither a creditor, an equity security holder, nor an insider of the debtor.

B. I am not and was not, Within two years before the date of the filing of the
petition, a director, officer or employee of the debtor.

C. I do not have an interest materially adverse to the interest of` the estate or of
any class of creditors or equity security holders, by reason of any direct or
indirect relationship to, connection with, or interest in, the debtor or for any

other reason.

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D. I have no connections to the debtor, creditors, patients, any other party in

interest, their respective attorneys and accountants, the United States Trustee,
or any person employed in the Off`rce of the United States Trustee (including
Whether I am a former employee of the United States Trustee’s Office, or a
former or current professional or business associate of either the United
States Trustee or an employee of the United States Trustee).

4. l am not related to the Judge in this case.

5. The current rate(s) I charge non-bankruptcy clients is approximately $250.00 per hour.
For purposes of this matter, l have agreed to bill at a rate of $1,500 for a full day of work at the
Debtor’s facility and approximately $250.00 per hour for miscellaneous services rendered as a Patient
Care Ombudsman.

6. I have not received any compensation from any party With respect to my appointment in
this case, nor have l made any agreements or arrangements with the debtor or any other party f`or
compensation

7. 1 understand and agree to maintain a detailed chronological record of the services
rendered, time expended and expenses incurred pursuant to the Guidelines for Fee Applications for
Professionals in the Southern District of Florida in Bankruptcy Cases.

8. I will promptly file a Supplemental Verified Statement disclosing any circumstances that

cause the foregoing to change.

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Dated May l4, 2018.

 
  

   

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ANDRA Z l R OUDAKIS

STATE OF FLORIDA )
) SS:
COUN'I`Y OF M'h*rM'I'B?rB‘E‘ )

P\Ih Ey\¢,l-\

Executed and acknowledged before me, the undersigned notary, on this /Y day of May 2018.

NOTARY PUBLIC

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My Commlsslon Explres: M*‘f l7[ JDJ’° ' ' "'-_ Notary?ublic-StatealFlnrida
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